                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT WINCHESTER


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 4:13-cr-11
                                                       )
 v.                                                    )
                                                       )       MATTICE / LEE
 TANICA BERRY                                          )


                              REPORT AND RECOMMENDATION

        Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on September 26,

 2013. At the hearing, defendant moved to withdraw her not guilty plea to Count One of the thirty-

 four-count indictment and entered a plea of guilty to the lesser included offense of the charge in

 Count One, that is of conspiracy to distribute and possess with intent to distribute a mixture and

 substance containing a detectable amount of cocaine and a mixture and substance containing cocaine

 base (“crack”), both Schedule II controlled substances, in violation of 21 USC §§ 846, 841(a)(1) &

 841(b)(1)(C), in exchange for the undertakings made by the government in the written plea

 agreement. On the basis of the record made at the hearing, I find the defendant is fully capable and

 competent to enter an informed plea; the plea is made knowingly and with full understanding of each

 of the rights waived by defendant; the plea is made voluntarily and free from any force, threats, or

 promises, apart from the promises in the plea agreement; the defendant understands the nature of

 the charge and penalties provided by law; and the plea has a sufficient basis in fact.

        Therefore, I RECOMMEND defendant’s motion to withdraw her not guilty plea to Count

 One be granted, her plea of guilty to the lesser included offense of the charge in Count One, that is

 of conspiracy to distribute and possess with intent to distribute a mixture and substance containing

 a detectable amount of cocaine and a mixture and substance containing cocaine base (“crack”), both



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 Schedule II controlled substances, in violation of 21 USC §§ 846, 841(a)(1) & 841(b)(1)(C) be

 accepted, the Court adjudicate defendant guilty of the lesser included offense of the charge in Count

 One, that is of conspiracy to distribute and possess with intent to distribute a mixture and substance

 containing a detectable amount of cocaine and a mixture and substance containing cocaine base

 (“crack”), both Schedule II controlled substances, in violation of 21 USC §§ 846, 841(a)(1) &

 841(b)(1)(C), and a decision on whether to accept the plea agreement be deferred until sentencing.

 Defendant filed a motion to remain on bond after entry of her plea pending sentencing pursuant to

 18 U.S.C. §§ 3143(a) & 3145(c) [Doc. 168]. The government objected and a hearing was held on

 the motion. Defendant’s motion to remain on bond is DENIED and defendant’s bond was revoked

 as she did not show there were exceptional reasons for release under 18 U.S.C. § 3145(c).

 Therefore, I further RECOMMEND that defendant remain in custody until sentencing in this

 matter.    Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and

 imposition of sentence are specifically reserved for the district judge.

                                                s/fâátÇ ^A _xx
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE



                                        NOTICE TO PARTIES

         You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than ten days after the plea hearing. Failure to file
 objections within ten days constitutes a waiver of any further right to challenge the plea of guilty
 in this matter. See 28 U.S.C. §636(b).




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